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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )             8:11CR424
                      Plaintiff,                      )
                                                      )
       vs.                                            )              ORDER
                                                      )
FERMIN ALTAMIRANO-RAMIREZ,                            )
                                                      )
                      Defendant.                      )



       This matter is before the court on the motion to extend the time for filing pretrial motions

by defendant Fermin Altamirano-Ramirez (Altamirano-Ramirez) (Filing No. 57). The motion does

not comply with NECrimR 16.2 and paragraph 9 of the Progression Order (Filing No. 21) in that the

motion is not accompanied by the defendant’s affidavit or declaration stating that defendant:

       (1)    Has been advised by counsel of the reasons for seeking a continuance;
       (2)    Understands that the time sought by the extension may be excluded from any
                     calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
       (3)    With this understanding and knowledge, agrees to the filing of the motion.

       Accordingly, the motion (Filing No. 57) is :
              (X )    Held in abeyance pending compliance with NECrimR 16.2 and Paragraph
                      9 of the Progression Order. Absent compliance on or before February 27,
                      2012, the motion will be deemed withdrawn and termed on the docket.
              (   )   Denied.


       IT IS SO ORDERED.
       DATED this 21st day of February, 2012.
                                                      BY THE COURT:


                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
